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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


  HARRY WILLIAMSON
                                                     Case No.: 1:23-cv-01507-JG
                 Plaintiff,
            v.                                       Judge James S. Gwin
  LORAIN COUNTY, et al.                              Magistrate Judge Jennifer Dowdell
                                                         Armstrong
                   Defendants.


                   MOTION FOR EXTENSION OF TIME TO COMPLETE SERVICE


       Plaintiff Harry Williamson respectfully moves the Court for an additional 28 days in

which to complete service on Defendants.

       This case is a refiling of a case against Defendant Tom Williams and other parties that

was voluntarily dismissed without prejudice from the Lorain County Court of Common Pleas.

Upset at being named in that case, Defendant Williams sued Mr. Williamson and his counsel for

suing him in the first place. For reasons that were never explained, the trial court in Mr.

Williams’s case disqualified Attorney Bardwell, alluding only vaguely to unspecified “ethical

canons.”

       Out of an abundance of caution, Mr. Williamson voluntarily dismissed the Lorain County

case while appealing the Cuyahoga County decision stripping him of his right to counsel of his

choice, with the expectation of refiling it upon reversal of the disqualification order. However,

due to docketing errors in the clerk’s office and Mr. Williams’s dilatory tactics in the Court of

Appeals, the appeal stretched out months longer than expected, past the statute of limitations for

Mr. Williamson’s federal claims in this case.
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       Mr. Williamson therefore authorized Attorney Bardwell to file a complaint preserving his

claims, but did not authorize him to take any further action to prosecute the case until the Eighth

District reversed the disqualification.

       That decision came down today. Only nine days after oral argument, the Eighth District

reinstated Attorney Bardwell in a decision noting that the trial court failed to hold any hearing on

the disqualification, that it appeared Mr. Williamson had consented to any conflict that might

exist, and that there was no evidence supporting any of Mr. Williams’s arguments for

disqualification. Williams v. Hung, No. 112645 (8th Dist. Dec. 14, 2023).

       Mr. Williamson has now authorized Mr. Bardwell to resume his representation in this

case, effective immediately, and he therefore requests a brief, 28-day extension in which to

complete service. As of this filing, Attorney Bardwell has already requested service waivers

under Rule 4(d), as well as summonses from the clerk’s office, should they be necessary. He

therefore anticipates that service will be completed in short order.

                                                      Respectfully submitted,

                                                      /s/Brian D. Bardwell
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                                                      Attorney for Plaintiff Harry Williamson

                                     CERTIFICATE OF SERVICE
       I certify that on December 14, 2023, this document was served on opposing counsel as

provided by Civ. R. 5(B)(2)(f).

                                                      /s/Brian D. Bardwell
                                                      Brian D. Bardwell (0098423)
                                                      Attorney for Plaintiff Harry Williamson
